 Case: 2:13-cr-00008-DLB-CJS         Doc #: 1601 Filed: 05/22/18        Page: 1 of 7 - Page
                                         ID#: 6394



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION
                                 AT COVINGTON

CRIMINAL ACTION NO. 13-8-DLB-CJS-11

UNITED STATES OF AMERICA                                                        PLAINTIFF


V.                       MEMORANDUM OPINION AND ORDER


ANTHONY FILICE                                                                DEFENDANT

                           **   **    **   **       **   **   **   **

       This matter is before the Court on Defendant Anthony Filice’s Motion to Clarify

the Court’s sentencing order and absolve Defendant of his joint and several liability for a

money judgment in the amount of $1,825,510. (Doc. # 1549). For the reasons below,

Defendant’s Motion will be denied.

I.     FACTUAL AND PROCEDURAL BACKGROUND

       On April 11, 2013, a grand jury returned a superseding indictment against

Defendant and thirty-eight others for conspiracy to distribute oxycodone. (Doc. # 364).

The indictment included a forfeiture allegation of real property, currency, and a money

judgment of $1,825,510, which represented the “gross proceeds in aggregate obtained

by the defendants” from their alleged criminal violations, for which “the Defendants are

jointly and severally liable.” Id. On July 18, 2013, pursuant to a written plea agreement,

Defendant pled guilty to the criminal charge against him. (Docs. # 794 and 795). The

plea agreement specified that Defendant conspired to knowingly and intentionally

distribute oxycodone, and that he knowingly and voluntarily joined in the conspiracy.

(Doc. # 795). Defendant also agreed that he would “forfeit to the United States all interest


                                                1
Case: 2:13-cr-00008-DLB-CJS           Doc #: 1601 Filed: 05/22/18         Page: 2 of 7 - Page
                                          ID#: 6395


in the property listed in the forfeiture allegation of the Indictment and [would] execute any

documents necessary for this forfeiture.” Id. at 4.

       Following the United States’ notice of filing, the Court entered a preliminary

judgment of forfeiture against the majority of defendants, including Defendant. (Doc. #

855). At sentencing, the Court adopted and accepted the findings contained in the Pre-

sentences Investigation Report, including the guideline calculations that had been

prepared by the United States Probation Office. (Doc. # 1072). The Judgment reflects

Defendant’s sentence of imprisonment for 115 months, followed by 10 years of

supervised release, imposed on December 19, 2013. (Doc. # 1073). Defendant was

assessed $100, with fines and community restitution waived. Id. at 5. In addition,

Defendant was ordered to forfeit his interest in “[a]ll items listed in the forfeiture allegation

of the superseding indictment.” Id. at 6. Defendant did not file a direct appeal.

       Almost three-and-one-half years later, Defendant filed the instant Motion, asking

the Court to clarify that that he is not jointly and severally liable for the forfeiture money

judgment amount of $1,825, 510, and to absolve Defendant of any responsibility for the

money judgment. (Doc. # 1549). Following a response by the United States (Doc. #

1553), Defendant replied. (Doc. # 1554). In his reply, Defendant referred to the recent

United States Supreme Court opinion in Honeycutt v. United States, 137 S. Ct. 1626

(2017).   The Court ordered both the United States and Defendant to each file a

supplemental memorandum specifically addressing Honeycutt. (Doc. # 1557 and 1570).

The United States and Defendant having responded (Docs. # 1569 and 1573), the matter

is ripe for the Court’s review.




                                               2
  Case: 2:13-cr-00008-DLB-CJS         Doc #: 1601 Filed: 05/22/18        Page: 3 of 7 - Page
                                          ID#: 6396


 II.      ANALYSIS

          A.     Defendant’s Motion is waived, untimely, and without merit.

         Defendant’s Motion is not the first of its kind to be raised in this criminal case. In

August and September of 2015, three of Defendant’s co-conspirators filed similar motions

seeking relief from the joint and several forfeiture judgment. (Docs. # 1398, 1399, and

1419).     Arguing that the Court had not complied with the Federal Rules of Criminal

Procedure by failing to advise them of the forfeiture at sentencing, and that the money

judgment was not included in their judgment entries, the co-conspirators sought an end to

the paycheck deductions imposed by the Bureau of Prisons for payment of the money

judgment. Id. The arguments were identical to Defendant’s; for these same reasons,

Defendant’s Motion necessarily fails.

         This Court denied the co-conspirators’ motions on three grounds. (Doc. # 1443).

First, each of the co-conspirators had waived the right to appeal “any determination made

by the Court at sentencing.” Id. at 2. Defendant’s plea contains the same waiver language.

(Doc. # 795 at 4). Second, the co-conspirators could only challenge the forfeiture on direct

appeal, the time for which had long-since passed. (Doc. # 1443 at 2 (citing Winkelman v.

United States, 494 F. App’x 217, 220 (3rd Cir. 2012)). Here too, the time for Defendant to

file a direct appeal ran more than three years ago. Finally, the Court found that the co-

conspirators’ motions were without merit, as each of the co-conspirators had entered pleas

specifically agreeing to forfeiture. (Doc. # 1443 at 3). Thus, the Court found that there

wasno question that they knew of the forfeiture at sentencing. Id. (citing Fed. R. Crim. P.

32.2(b)(4)(B)). Here, Defendant’s plea is nearly identical, leading to the same conclusion.

         The Court’s determination on one of the co-conspirators’ motions was upheld by the

Sixth Circuit. See United States v. Yancey, 707 F. App’x 342 (6th Cir. 2017). In its opinion,

                                               3
 Case: 2:13-cr-00008-DLB-CJS          Doc #: 1601 Filed: 05/22/18         Page: 4 of 7 - Page
                                          ID#: 6397


the Sixth Circuit found that co-conspirator Yancey had “waived any challenge to any

determination by the court at sentencing,” that the “plea agreement included an express

provision” of forfeiture that included the money judgment, and that Yancey “never once

questioned or challenged the money judgment or the forfeiture” or argued that the plea

agreement was involuntary, unknowing, or ambiguous. Id. at 345. The facts giving rise to

Defendant’s motion, and Defendant’s plea agreement, waiver, and arguments are no

different than Yancey’s, and for this reason Defendant’s motion is denied.

        B.     Honeycutt does not require a different result.

        In June 2017, the United States Supreme Court issued an opinion holding that the

 language in 21 U.S.C. § 853(a) “foreclose[s] joint and several liability for co-conspirators.”

 Honeycutt, 137 S. Ct. at 1633. The record and this Court’s previous findings show that a

 sentence of joint and several liability for $1,825,510 was imposed on Defendant as a co-

 conspirator. (Doc. # 1073). If imposed today, such a sentence would run afoul of

 Honeycutt. However, this sentence was imposed several years before Honeycutt was

 decided. The question posed in Defendant’s reply (Doc. # 1554 at 2) is thus whether

 Honeycutt should be applied retroactively to Defendant’s case.

        Honeycutt announced a new rule. See Teague v. Lane, 489 U.S. 288, 301 (1989)

 (“[A] case announces a new rule if the result was not dictated by precedent existing at the

 time the defendant’s conviction became final.”). Whether Honeycutt applies retroactively

 depends on the finality of a case and whether the new rule is substantive or procedural.

        In Griffith v. Kentucky, 479, U.S. 214 (1987), the Supreme Court pronounced that

 “a new rule for the conduct of criminal prosecutions is to be applied retroactively to all

 cases, state or federal, pending on direct review or not yet final.” Griffith, 479 U.S. at 326.

 Typically, cases that are final cannot benefit from the new rule. Only in very limited

                                               4
Case: 2:13-cr-00008-DLB-CJS         Doc #: 1601 Filed: 05/22/18        Page: 5 of 7 - Page
                                        ID#: 6398


circumstances will a new rule apply retroactively to final convictions.           Schriro v.

Summerlin, 542 U.S. 348, 351 (2004).             Generally, new substantive rules apply

retroactively, such as a rule “narrowing the scope of a criminal statute by interpreting its

terms” or a rule that is constitutionally determined to remove a person or person’s conduct

from “the State’s power to punish.” Id. at 351-52 (citing Bousley v. United States, 523,

U.S. 614, 620-21 (1998) and Saffle v. Parks, 494 U.S. 484, 494-95 (1990)). A new rule

may also apply retroactively if it is a new watershed rule of criminal procedure that

implicates “the fundamental fairness and accuracy of the criminal proceeding.” Saffle,

494 U.S. at 495. “This class of rules is extremely narrow” and must be one ‘without which

the likelihood of an accurate conviction is seriously diminished.’” Schriro, 542 U.S. at 352

(quoting Teague, 489 U.S. at 313)). Here, Defendant’s case became over three years

ago, and so Honeycutt will apply retroactively only if its new rule is substantive or a

watershed rule of criminal procedure. See, e.g., Teague, 489 U.S. at 311 (“Petitioner’s

conviction became final [six years ago]. As a result, the petitioner urges would not be

applicable to this case, which is on collateral review, unless it would fall within an

exception.”).

       To begin with, “a new rule is not ‘made retroactive to cases on collateral review’

unless the Supreme Court holds it to be retroactive.” Tyler v. Cain, 533 U.S. 656, 663

(2001). Honeycutt did not make its ruling retroactive to cases on collateral review. Nor

is Honeycutt’s new rule substantive or a watershed rule of criminal procedure.

       The new rule in Honeycutt is not substantive because it has not altered “the range

of conduct or the class of person’s that the law punishes.” Schriro, 542 U.S. at 353. A

co-conspirator can still be reached by 21 U.S.C. § 853, and may still be liable in forfeiture

judgment for any money “constituting, or derived from, any proceeds … obtained, directly

                                             5
Case: 2:13-cr-00008-DLB-CJS         Doc #: 1601 Filed: 05/22/18        Page: 6 of 7 - Page
                                        ID#: 6399


or indirectly, as the result of [a felony drug violation].” 21 U.S.C. § 853(a)(1). That his

liability does not extend to money obtained by someone else, see Honeycutt, 137 S. Ct.

at 1632, simply alters the extent of a defendant’s forfeiture liability, and does not alter

what conduct is punishable, or who is punishable under the same law. Comparing

Honeycutt to a recent Supreme Court case, Johnson v. United States, 135 S. Ct. 2551

(2015), helps elucidate the difference.

       In Johnson, the Supreme Court found that imposing an increased sentenced under

the residual clause of the Armed Career Criminal Act (“ACCA”) was unconstitutional

under the void-for-vagueness doctrine. Subsequently, the Supreme Court determined

that the new rule announced in Johnson was substantive; before Johnson, any person

who was caught in possession of a firearm after three violent felony convictions might

face fifteen years to life in prison, while after Johnson, such a person might only face a

maximum of ten years in prison. Welch v. United States, 136 S. Ct. 1257, 1265 (2016).

Thus, Johnson “changed the substantive reach of the [Act], altering the range of conduct

or the class of persons” punished by the ACCA. Id. Under Honeycutt, forfeiture still exists

for any person convicted of a felony under the Drug Abuse Prevention and Control Act

(“DAPCA”), 21 U.S.C. Chapter 13. Honeycutt did not alter the range of conduct prohibited

under the act; it only limited the forfeiture liability of convicted co-conspirators. Nor did

Honeycutt not alter the range of persons—“any person” convicted of a felony under the

DAPCA remains subject to forfeiture.        The new rule in Honeycutt is therefore not

substantive.

       The next question is whether Honeycutt presents a new watershed rule of criminal

procedure that implicates “the fundamental fairness and accuracy of the criminal

proceeding.” Saffle, 494 U.S. at 495. Recognizing that “the precise contours of this

                                             6
  Case: 2:13-cr-00008-DLB-CJS         Doc #: 1601 Filed: 05/22/18         Page: 7 of 7 - Page
                                          ID#: 6400


 exception may be difficult to discern,” the Supreme Court has “usually cited Gideon v.

 Wainwright, [372 U.S. 335] (1963), holding that a defendant has the right to be

 represented by counsel in all criminal trials for serious offenses, to illustrate the type of

 rule coming within the exception.” Id. In Honeycutt, the Supreme Court’s clarification that

 “the plain text of § 853(a)(1) … foreclose[s] joint and several liability for co-conspirators,”

 Honeycutt, 137 S. Ct. at 1633, is not the “type of rule” that can be considered a new

 watershed rule of criminal procedure.

         In addition to the reasons stated in the Court’s prior order regarding Defendant’s

 co-conspirators (Doc. # 1443), because the new rule pronounced in Honeycutt does not

 apply retroactively, Defendant’s motion is denied.

 III.    CONCLUSION

        Accordingly, for the reasons stated herein, IT IS ORDERED that Defendant Anthony

Filice’s Motion to Clarify (Doc. # 1549) be, and is hereby, DENIED.

         This 22nd day of May, 2018.




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                                               7
